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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

         Plaintiff,
                                                            Hon. Robert J. Jonker
 v.
                                                            Case No. 1:22-cr-00108
 ANTHONY DWAYNE WILLIAMS,

       Defendant.
 ________________________________/

                             ORDER OF DETENTION

        This matter is before the Court on the government’s motion for pretrial

detention. Defendant has been charged in a two- count Indictment. Count 3 charges

defendant with felon in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1),

and count 4 charges defendant with felon in possession of ammunition, in violation of

18 U.S.C. §§ 922(g)(1) and 18:924(a)(2).

        The government sought defendant’s detention on the basis that he is a danger

to the community, 18 U.S.C. § 1342(f)(1), and that he poses a risk of non-appearance,

18 U.S.C. § 3142(f)(2)(A). The Court conducted a hearing on November 22, 2022, at

which defendant was represented by counsel.

        Having considered the information presented at the hearing, the parties’ oral

submissions, and the information in the Pretrial Services Report, and for the reasons

stated on the record, the Court finds that the government has sustained its burden

by clear and convincing evidence that he is a danger to the community. Further, the
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Court finds that there is no condition or combination of conditions of release that will

ensure the safety of the community. Accordingly,

      IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial.

      DONE AND ORDERED on November 22, 2022.


Date November 22, 2022                                 /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge




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